Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 1 of 21 PageID #: 1



 Baruch S. Gottesman, Esq.
 185-12 Union Turnpike
 Fresh Meadows, NY 11366
 Attorney for Plaintiff

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------x
                                                                |
 THE TEDDY BEARYS LTD,                                          |   Civil Action No. 1:18-cv-03436
                                                                |
                            Plaintiff,                          |
                                                                |
                   ~ against ~                                  |   COMPLAINT
                                                                |
 DOVER PUBLICATIONS, INC.;                                      |   JURY TRIAL DEMANDED
 and THEODORE MENTEN,                                           |
                                                                |
                            Defendants                          |
                                                                |
 --------------------------------------------------------------x

                   Comes now Plaintiff THE TEDDY BEARYS LTD. by and through counsel,

 BARUCH S. GOTTESMAN, ESQ., and for their Complaint against Defendants DOVER

 PUBLICATIONS, INC. and TED MENTEN states as follows:

                                      NATURE OF THE ACTION

          1.       This lawsuit seeks to vindicate the Plaintiff’s rights in The Teddy Beary art with

 respect to copyright violations and contributory copyright violations committed by the

 Defendants.

                              I.         Birth of an American Classic

          2.       The Congressionally-chartered Theodore Roosevelt Association, describes the

 birth of the Teddy Bear as follows:

                   “It all started with a hunting trip President Roosevelt took in
                   1902 in Mississippi at the invitation of Mississippi Governor,
                   Andrew H. Longino. After three days of hunting, other
                   members of the party had spotted bears, but not Roosevelt.



                                                      -1-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 2 of 21 PageID #: 2




                 “Now what? The President’s bear hunt would be a failure! The
                 next day, the hunt guides tracked down an old black bear that the
                 dogs had trailed quite a distance and attacked. The guides tied
                 the bear to a willow tree and called for the President. Here was
                 a bear for him to shoot!

                 “But Roosevelt took one look at the old bear and refused to shoot
                 it. He felt doing so would be unsportsmanlike . . . . Word of
                 this [incident] hit newspapers across the country, and political
                 cartoonist Clifford Berryman picked up on the story, drawing a
                 cartoon showing how President Roosevelt refused to shoot the
                 bear while hunting in Mississippi.”

                 Theodore Roosevelt Association, Real Teddy Bear Story.                 Available at

 http://tiny.cc/RealTeddyStory (last visited June 12, 12018)1.

         3.      The incident, immortalized in cartoon form as shown below, went viral.




 Illustration 1. Berryman, Clifford, Drawing The Line in Mississippi, Washington Post
 (November 16, 1902) at 1.




 1
  Full url is:
 http://www.theodoreroosevelt.org/site/c.elKSIdOWIiJ8H/b.8684621/k.6632/Real_Teddy_Bear_Story.htm


                                                 -2-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 3 of 21 PageID #: 3



           4.     Morris Mitchom, a New York toymaker, claimed to have sought and obtained

 President Roosevelt’s permission to create a plush bear toy memorializing the incident and

 bearing the President’s name – Teddy Bear – which was granted. See Teddy Bear, The

 National       Museum    of   American     History    at   the    Smithsonian.        Available   at

 http://americanhistory.si.edu/press/fact-sheets/teddy-bear (last visited June 12, 2018). Since

 then, Teddy Bears – in their myriad of styles, designs, and fashions – have represented

 sportsmanship,       care     for    the    environment,         and   Presidential      leadership.

 Teddy Bears quintessentially represent childhood and are a true American classic.

                               II.    The Teddy Beary: The Birth of an
                                     American Classic for the Digital Era

           5.     In 1983, a young U.K. artist, Irene Patricia Scott, came up with the vision for a

 collection of dolls and drawn characters to be known as “The Teddy Bearys”.

           6.     The artist recalls sitting cross-legged on the floor at her home in the U.K. where

 she used a black biro pen on scented, cream-colored, A4 size drawing paper to sketch ideas for

 “The Teddy Beary”. The artist recalls that having not yet learned to draw paws well, she

 authored the final draft of The Teddy Beary with its paws obscured. Consistent with the artistic

 tradition, the sketching was branded with the artist’s monogram cleverly integrated into the

 sketch.

           7.     No Teddy Bear art is the same. “Whether . . . [a] bear will be a hit depends on

 what teddy aficionados call ‘character.’ ‘A lot of people jumped on the bandwagon and

 decided to make a bear because they were selling . . . . That’s not how it works. You produce

 a wonderful bear, then people fall in love with it. Otherwise, it’s just another bear.” Dolan,

 Barbara, Bears: They’re in a Bull Market, Chicago Tribune (November 23, 1986) Tempo

 Section, Page 5 (quoting Defendant Theodore Menten).



                                                 -3-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 4 of 21 PageID #: 4



        8.      The Teddy Bear that Ms. Scott author had that indefinable “character”.

 As seen below, its’ appeal was obvious and deeply charismatic.




                Illustration 2. Copy of the original Teddy Beary as authored by Ms. Scott.

        9.      The Teddy Beary that Ms. Scott authored has become the iconic Teddy Bear of

 the digital era. It appears on clipart sites, has been incorporated into fonts, and is consistently

 the most popular Teddy Bear art when searched online.

        10.     On June 14, 2015, Ms. Scott became aware that her artwork was available

 online. On October 21, 2015, Ms. Scott became aware of Defendants exploitation of The

 Teddy Beary and Plaintiff now brings this action to enjoin Defendants from continuing

 violations of its copyrights and for statutory and other damages arising from these violations.




                                                -4-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 5 of 21 PageID #: 5



                                        THE PARTIES

                I.     Plaintiff

        11.     Plaintiff THE TEDDY BEARYS LTD is a Private Limited Company

 incorporated and existing under the U.K. Companies Act of 2006. Its’ primary offices are

 located at 19 Rose Gardens, Herne Bay, in the County of Kent, England in the United

 Kingdom.

        12.     A true and accurate copy of the Certificate of Incorporation of

 The Teddybearys Limited as a Private Limited Company given at the United Kingdom’s

 Companies House on September 25, 2017, and registered under Company No. 10980277, is

 annexed hereto as Exhibit A and made a part of this Complaint.

        13.     A true and accurate copy of the Certificate of Incorporation on Change of Name

 of The Teddy Bearys Ltd. given at the United Kingdom’s Companies house on

 October 13, 2017, is annexed hereto as Exhibit B and made a part of this Complaint.

        14.     The Teddy Bearys Ltd.’s Sole Director is the artist Ms. Irene Patricia Scott.

                II.    Defendants

        15.     Upon information and belief, DOVER PUBLICATIONS, INC. is a business

 corporation organized and existing under New York law. It maintains its principal offices at

 31 East 2nd Street, Mineola in the County of Nassau in the State of New York. The basis of

 information and belief includes, but is not limited to, the Entity information available on the

 website of the Division of Corporations of the Department of State of the State of New York,

 a printout of which is annexed hereto as Exhibit C and made a part of this Complaint. In this

 Complaint, Dover Publications, Inc. is sometimes referred to as “DOVER”.




                                              -5-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 6 of 21 PageID #: 6



         16.     Upon information and belief, Defendant THEODORE MENTEN is a natural

 person who resides at 7700B Stenton Avenue, Apartment 105, in the City and County of

 Philadelphia in the Commonwealth of Pennsylvania. In this Complaint, Theodore Menten is

 sometimes referred to as “MENTEN”.



                                  JURISDICTION AND VENUE

         17.     This action arises under the Copyright Act of 1976, as amended, 17 U.S.C. §§

 101, et seq. (“Copyright Act”); The Berne Convention Implementation Act of 1988; The

 Lanham Act; and other relevant laws.

         18.     Plaintiff respectfully submits that this Court has subject matter jurisdiction over

 this action pursuant to 28 U.S.C. § 1331 (federal question jurisdiction); and 28 U.S.C.

 § 1332(a)(2) (diversity jurisdiction).

         19.     Venue is properly lain in this District pursuant to 28 U.S.C. §§ 1391(b) because

 Defendant DOVER is resident in Nassau County in this District and because upon information

 and belief a substantial part of the events or omissions giving rise to the claims occurred in

 Nassau County within this District.



                                   FACTUAL ALLEGATIONS

         20.     As described fully below, the Defendants have directly and upon information

 and belief knowingly and intentionally exploited the copyrights and other intellectual property

 rights of the Plaintiff for their own financial benefit and in violation of New York and federal

 law. After exhausting all efforts to resolve this matter amicably with Defendant Dover the

 Plaintiff is left with no choice but to file this suit to protect their intellectual property rights.




                                                  -6-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 7 of 21 PageID #: 7



                 I.      Authorship and Publication in the United Kingdom

        21.      In 1983, a young U.K. artist, Irene Patricia Scott, came up with the vision for a

 collection of bears based on berries – to be known as “The Teddy Bearys.”

        22.      Ms. Scott recalls and has contemporaneous written documentation that The

 Teddy Beary was authored with nonfunctional features intentionally added so as to be part of

 a toy and graphical art collection, which included but were not limited to:

        •     Large and padded feet;

        •     Fat tummy;

        •     Side-set Ears;

        •     An oversized bow;

        •     A half-smile;

        •     Sloping eyebrows;

        •     Full cheeks;

        •     Floppy head;

        •     Tuft of fur on head;

        •     Front paws obscured;

        •     Unique and distinct nose;

        •     Unique and distinct eyes; and

        •     Unique and distinct ears with artist’s monogram.

        23.      A true and accurate copy of the original version of The Teddy Beary as authored

 in 1983 is annexed hereto and made a part of this Complaint as Exhibit D. The copy includes

 an undated stamp and signature from a local solicitor where he certifies that the document is a

 true and complete copy of the original.



                                               -7-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 8 of 21 PageID #: 8



         II.    Plaintiff’s Submission of the Artwork to Publishers and London
                and Evidence of Defendant’s Actionable Copying

         24.    As an ambitious young British artist with a strong teddy bear design and

 concept, Ms. Scott prepared a portfolio of her work and shoe-leathered her way around London

 to present her ideas to various toy makers and publishers.

         25.    Among the presentations that Ms. Scott specifically remembers making (and

 for which she has contemporaneous documentation) was a presentation of “Pudgy Picnic

 Bears” (which included The Teddy Beary) to representatives of Disney at their offices on

 Caroline Street in London. This presentation took place sometime during 1983 or 1984, during

 which    she   left   a   copy   of   her    portfolio   including   photostatic   copies   of

 The Teddy Beary with Disney representatives.

         26.    Ms. Scott recalls and has contemporaneous documentation that Disney

 remained interested in her portfolio and remained in touch with her during the 1983 – 1984

 timeframe.

         27.    At no time did Ms. Scott reach any agreement with Disney to sell, license, or

 otherwise give permission for them to use her portfolio or ideas.

         28.    Ms. Scott further recalls and has contemporaneous documentation that she

 made preparations for a meeting to present her portfolio to the London representatives of the

 Hasbro toy company. Upon information and belief, Ms. Scott met with representatives of

 Hasbro at their London office some time in 1983 or 1984 and left them a copy of her portfolio

 which included photostatic copies of The Teddy Beary.

         29.    At no time did Ms. Scott reach any agreement with Hasbro to sell, license, or

 otherwise give permission for them to use her portfolio or ideas.




                                              -8-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 9 of 21 PageID #: 9



        30.     At no time did Ms. Scott reach any agreement with any other toy company to

 sell, license, or otherwise give permission for them to use her portfolio or ideas.

        31.     Ms. Scott remembers and has contemporaneous documentation that she

 presented her ideas at the London offices of the book publishers “Blackie” and “Ladybird” and

 left them copies of her portfolio which included photostatic copies The Teddy Beary.

        32.     At no time did Ms. Scott reach any agreement with Blackie, Ladybird, or any

 other publishing company to sell, license, or otherwise give permission for them to use her

 portfolio or ideas.

        33.     Upon information and belief, during the time frame when Ms. Scott was

 presenting her ideas to toy-makers, Disney was co-producing plush toys with Hasbro. The

 basis of Plaintiff’s information and belief includes but is not limited to online listings on

 eBay.com and other auction sites which list Disney branded items produced by “Hasbro

 Softies” and dated 1983 and 1984.         Upon information and belief, the Disney-Hasbro

 partnership during 1983 – 1984 was common knowledge in the toy industry.

        34.     Upon information and belief, during the early 1980s, while Defendant Menten’s

 company was hired by Hasbro Toys to design and style toys, Defendant Menten was

 commissioned to write a book about Teddy Bears, began writing a Teddy Bear column for

 DOLLS magazine, and was asked to create Teddy Bear magazine. The basis of Plaintiff’s

 information and belief with respect to the allegations in this Paragraph is an autobiography

 believed to be written by Defendant Menten and which is available through the archive.org

 web             service            at           https://web.archive.org/web/20120925100059/

 http://www.kranbearys.com/Ebearz/ Teachers/TedMenten.htm (last visited June 12, 2018). A




                                               -9-
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 10 of 21 PageID #: 10



  printout of the autobiography is annexed hereto as Exhibit E and made a part of this

  Complaint.

         35.     Upon information and belief because of Defendant Menten’s retention by

  Hasbro and his role in the Teddy Bear industry in the early 1980s, Menten had physical access

  to Ms. Scott’s portfolio (or a copy of her portfolio) prior to designing and publishing “Teddy

  Bear Illustrations” in 1985. Additionally and/or in the alternative, because of Defendant

  Menten’s role in the Teddy Bear publishing industry, Menten had physical access to Ms.

  Scott’s portfolio (or a copy of her portfolio) prior to designing and publishing “Teddy Bear

  Illustrations” in 1985.

         36.     In 1985, Defendants published “Teddy Bear Illustrations”, a copy of the cover

  and information page of which is below:




         Illustration 3. True and accurate copy of front page of Teddy Bear Illustrations




                                              - 10 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 11 of 21 PageID #: 11




   Illustration 4. True and accurate copy of information page of Teddy Bear Illustrations

         37.     The information page shown above as Illustration 4 says:

                                          “READY•TO•USE

                                        “TEDDY BEAR
                                      “ILLUSTRATIONS
                      “Copyright Free Designs • Printed One Side • Hundreds of Uses

                                    “Designed by TED MENTEN

                               “Dover Publications, Inc., New York

  “Copyright © 1985 by Ted Menten.
  “All rights reserved under Pan American and International Copyright Conventions.

  “Published in Canada by General Publishing Company, Ltd., 30 Lesmill Road, Don Mills,
  Toronto, Ontario

  “Ready-to-Use Teddy Bear Illustrations is a new work, first published by Dover Publications,
  Inc., in 1985.

  “Dover Clip-Art Series ®



                                                 - 11 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 12 of 21 PageID #: 12



           “This book belongs to the Dover Clip Art Series. You may use the designs and
  illustrations for graphics and crafts applications, free and without special permissions,
  provided that you include no more than ten in the same publication or project. (For
  permission for additional use, please write to Dover Publications, Inc., 31 East 2nd Street,
  Mineola, N.Y. 11501)
           “However republication or reproduction of any illustration by any other graphic
  service whether it be in a book or any other design resource is strictly prohibited.

                     “International Standard Book Number: 0-486-24943-3

                        “Manufactured in the United States of America
                         “Dover Publications, Inc., 31 East 2nd Street
                                   “Mineola, N.Y. 11501”

         38.    Page 15 of Teddy Bear Illustrations is as follows:




  Illustration 5. True and accurate copy of information page of Teddy Bear Illustrations

         39.    Upon information and belief, Teddy Bear Illustrations has remained in print by

  Defendants from 1985 through the filing of this Complaint.




                                             - 12 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 13 of 21 PageID #: 13



         40.     Below is an illustration showing The Teddy Beary and the infringing character

  illustrated on page 15 of Teddy Bear Illustrations:




  Illustration 6. Comparison of The Teddy Beary (left) and the infringing character (right)

         41.     Below is a comparison of The Teddy Beary and the infringing character

  superimposed on one another. The original is in red and the infringing character is in black.




  Illustration 7. Superimposition of The Teddy Beary (red) and the infringing character (black)



                                               - 13 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 14 of 21 PageID #: 14



         42.     Among the evidence that the infringing character was not merely “inspired by”

  or otherwise coincidentally co-created similar to the original was the author’s placement of her

  monogram in the character. Plaintiff has contemporaneous documentation the artist intended

  to and actually placed her initials (T.S. – for Trisha Scott) in the ear of The Teddy Beary which

  would only be visible when the figure is inverted and reversed as shown below. This

  monogram appears in the infringing character.




  Illustration 8. Placement of the Monogram shown on The Teddy Beary (left) and the
                  infringing character (right)




  Illustration 9. Monogram (T.S.) visible when ear is inverted and reversed shown on The Teddy
                  Beary (left) and the infringing character (right)




                                               - 14 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 15 of 21 PageID #: 15




         III.    Plaintiff’s Discovery of Defendants’ Infringement
                 and Broad Contributory Infringement

         43.     In June 2015, Ms. Scott was working with a colleague on a children’s picture

  book with a “Teddy Bears Picnic” theme.

         44.     On or about June 14, 2015, Ms. Scott searched “Teddy Bears Picnic” on

  Google to ensure that her draft ideas did not conflict with existing “Teddy Bears Picnic”. It

  was then – on June 14, 2015 – that she first saw her 30+ year old The Teddy Beary image on

  the municipal website of Thunder Bay, California.

         45.     Without realizing the extent to which The Teddy Beary had become an internet

  icon, over the summer of 2015 Ms. Scott contacted a few websites which contained the

  infringing image and tried to research the source of the infringement.

         46.     On or about October 7, 2015, Ms. Scott learned that the infringing image were

  part of the “Dover Collection” of clipart that was sold by Defendant DOVER.

         47.     Ms. Scott has since learned that the infringing image has been widely

  distributed by Defendants, parties purportedly licensed by Defendant DOVER, and others for

  commercial use as graphics, clipart, fonts, and purposes. One download source identified by

  Plaintiff claims that the infringing image was digitally downloaded not less than 304,582 times

  (as of April 1, 2018).

         48.     After incorporating a holding company for the copyright in Autumn 2017, Ms.

  Scott obtained a Certificate of Registration for The Teddy Beary under Registration Number

  VA 2-081-043 effective as of December 8, 2017. A copy of the Certificate of Registration is

  annexed hereto as Exhibit F and made a part of this Complaint.




                                              - 15 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 16 of 21 PageID #: 16




           IV.    Defendants Knowledge of their Infringement

           49.    Upon information and belief, the Defendants had and/or should have had

  knowledge of Ms. Scott’s ownership of the copyright in The Teddy Bearys when Teddy Bears

  Illustrations when they published the book in 1985.

           50.    From October 21, 2015 through December 22, 2015, Ms. Scott engaged in good

  faith negotiations with Defendant DOVER via e-mail during which she notified Dover of the

  infringement and factually demonstrated the copyright violations committed by Defendants.

  On or about December 22, 2015, communication broke down and the parties have not spoken

  since.



                                      First Cause of Action
                      Copyright Infringement from 1985 through the Present

           51.    Plaintiff repeats and re-alleges the allegations of paragraphs 1 – 50 as if fully

  set forth herein.

           52.    Both the United States and the United Kingdom are part of the union of

  countries that have joined in the Berne Convention for the Protection of Literary and Artistic

  Works of September 9, 1886, as amended (the “Berne Convention”). The Berne Convention

  provides copyright protection to authors of literary and artistic works and this protection

  applies in all member countries of the Berne Convention.

           53.    The Berne Convention provides that the authors of works are entitled to

  copyright protection under the laws of the country of origin together with the laws of the

  country where protection is claimed.




                                               - 16 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 17 of 21 PageID #: 17



           54.   The author published The Teddy Bearys on or about 1983 in the United

  Kingdom.

           55.   Publication occurred via, among other things, submission of The Teddy Bearys

  artwork to various United Kingdom toy makers for consideration.

           56.   On or about Winter 2017, the author transferred her rights in the copyright to

  Teddy Bearys Ltd.

           57.   The copyright was exempt from registration in the United States because it was

  not a “United States work” because, among other things: (i.) it was first published outside of

  the United States; (ii.) it was not published simultaneously in the United States and another

  treaty party; and (iii.) the author of the work is not headquartered in the United States.

           58.   The Defendants have infringed the Plaintiff’s copyright from 1985 and

  continuing to the present by publishing the infringing image in books, online and through other

  media.

           59.   Defendants factually copied The Teddy Beary as evidenced by the allegations

  that Defendant Menten had physical access to the copyrighted work prior to the publication of

  Teddy Bear Illustration; and the two works are strikingly similar to one another.

           60.   Upon information and belief, Defendants’ gross revenue and profits attributable

  to its infringement of The Teddy Beary copyright is significant, the exact amount of which will

  be determined at Trial.

           61.   The Plaintiff has suffered damages in an amount to be determined at trial.




                                                - 17 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 18 of 21 PageID #: 18



                                    Second Cause of Action
                 Copyright Infringement from December 8, 2017 through the Present

          62.     Plaintiff repeats and re-alleges the allegations of paragraphs 1 – 61 as if fully

  set forth herein.

          63.     The Copyright Office granted registration of The Teddy Bearys effective as of

  December 8, 2017 and granted registration Number VA 2-081-043. A true and accurate copy

  of the Registration Certificate from the Copyright Office is annexed hereto as Exhibit E and

  made a part of this Complaint.

          64.     The Defendants infringed the Plaintiff’s copyright from December 8, 2017, and

  continuing to the present by publishing the infringing image in books, online and other media

  after having been provided with notice by Ms. Scott of the copyright issue.

          65.     Upon information and belief, Defendants’ gross revenue and profits attributable

  to its infringement of The Teddy Beary copyright is significant, the exact amount of which will

  be determined at Trial.

          66.     The Plaintiff has suffered damages in an amount to be determined at trial.



                                     Third Cause of Action
                                   Contributory Infringement

          67.     Plaintiff repeats and re-alleges the allegations of paragraphs 1 – 66 as if fully

  set forth herein.

          68.     In Teddy Bear Illustrations, the Defendants told readers that:

          “You may use the designs and illustrations for graphics and crafts
          applications, free and without special permissions, provided that you
          include no more than ten in the same publication or project.”




                                               - 18 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 19 of 21 PageID #: 19



          69.     Defendants had actual knowledge that readers and customers would infringe

  Plaintiff’s copyright.

          70.     Third Parties did in fact infringe the Plaintiff’s copyright.

          71.     Defendants materially contributed to the infringement activity by telling its’

  readers and customers “You may use the designs and illustrations . . . free and without special

  permissions”.

          72.     Upon information and belief, Defendants’ gross revenue and profits attributable

  to its contributory infringement of The Teddy Beary copyright is significant, the exact amount

  of which will be determined at Trial.

          73.     The Plaintiff has suffered damages in an amount to be determined at trial.

                                   Fourth Cause of Action
          False Designation of Origin Under Lanham Act, 15 U.S.C. § 1125(a)(1)(B)

          74.     Plaintiff repeats and re-alleges the allegations of paragraphs 1 – 73 as if fully

  set forth herein.

          75.     Defendants falsely claimed that The Teddy Beary was “© 1985 Ted Menten”.

          76.     The false designation of origin created (and continues to create) a likelihood of

  confusion among the consuming public because they wrongfully believe that The Teddy Beary

  was not authored by Ms. Scott.

          77.     If an injunction is not granted the Plaintiff will continue to suffer irreparable

  harm.

          78.     The Plaintiff has suffered damages in an amount to be determined at trial.




                                                - 19 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 20 of 21 PageID #: 20




         WHEREFORE, Plaintiff respectfully prays for a judgment by this Court for the

  following:



         A.     Preliminarily and permanently restraining Defendants, their employees, agents

                and representatives, and all persons acting in concert or in participation with

                them, from using on or in connection with any business, service, or the sale,

                offering for sale, distribution, advertising, promotion, labeling or packaging, of

                any services or any goods, or from using for any commercial purpose

                whatsoever The Teddy Beary copyright;

         B.     Requiring Defendants to deliver up to the Court for destruction, or to show

                proof (upon the oath of Defendants made subject to penalty of perjury) of said

                destruction, any and all items which bear or depict in any manner The Teddy

                Beary copyright or any colorable imitation thereof;

         C.     Directing Defendants to recall from any and all channels of distribution any

                products bearing any matter or materials in violation of any injunction entered

                herein or bearing or depicting in any manner The Teddy Beary copyright.;

         D.     Awarding to Plaintiff its actual, compensatory, consequential, and incidental

                damages, in an as yet undetermined amount, resulting from the acts of

                Defendants complained of herein, including statutory fees and legal fees to the

                extent permitted by law;

         E.     Awarding Plaintiff prejudgment, moratory and post-judgment interest on any

                monetary award according to the maximum allowable legal rate; and




                                              - 20 -
Case 2:18-cv-03436-ADS-AYS Document 1 Filed 06/13/18 Page 21 of 21 PageID #: 21
